            UNITED STATES DISTRICT COURT
      FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  CASE NO. 21-mc-0006

                                   )
In re Application of KARAM         )
SALAH AL DIN AWNI AL               )
SADEQ and STOKOE                   )
PARTNERSHIP                        )
SOLICITORS for an Order            )
Under 28 U.S.C. § 1782 to          )
Conduct Discovery for Use in       )
Foreign Proceedings                )
                                   )
                                   )


 NICHOLAS DEL ROSSO AND VITAL MANAGEMENT SERVICES,
    INC.’S MEMORANDUM OF LAW IN SUPPORT OF THEIR
     MOTION TO QUASH OR FOR A PROTECTIVE ORDER




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                              INTRODUCTION

      Applicant Karam Al Sadeq was convicted of fraud and embezzlement in

2015 by a United Arab Emirates court and is serving a prison sentence there.

Last year, he sued the global law firm Dechert LLP and several individuals in

England over the conditions of his confinement and alleged judicial process

violations. Applicant Stokoe Partnership Solicitors is his English law firm. It

separately brought an English lawsuit against various defendants asserting

claims that Al Sadeq’s legal team was subjected to physical surveillance in Du-

bai and that someone gained improper access to its bank records in 2020.

      Movants Nicholas Del Rosso, a North Carolina resident, and his North

Carolina company Vital Management Services, Inc. (“VMS”) are not parties to

either case, are not alleged to have been involved in Al Sadeq’s criminal pro-

cess, and are not alleged to have been involved in the alleged 2020 surveillance

or to have accessed Stokoe’s bank records. The Section 1782 Application here

seeks documents from Movants showing their communications between 2015

and 2017 with an Indian IT company called CyberRoot Risk Advisory Private

Limited (“CyberRoot”). Like Movants, CyberRoot also is not a party to the for-

eign litigations and is not alleged to have been involved in the underlying facts,

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and indeed it is not accused of any wrongdoing in those cases.

      With no factual link between the allegations in their cases and Movants

(or CyberRoot), Applicants spin a theory: Al Sadeq is a fraudster whose lawyers

were subject to hacking, they say, and the likely instigator is the fraud victim,

the Investment Authority of Ras al Khaimah (“RAKIA”); Movants have been

allegedly connected with hacking in a separate lawsuit by a different fraudster

who stole from RAKIA in a separate fraud; so they should get discovery related

to that other alleged incident because it could shed some light on their own

hacking incident. But the premise is false, because their tort claims do not in

fact seek recovery for hacking (though they lard their most recent complaint

with legally extraneous references to hacking attempts). And the link is false,

both because there is no non-hearsay evidence in the other litigation that Mo-

vants have anything to do with hacking; and because the alleged hacking of

the other fraudster has nothing to do with Al Sadeq and Stokoe, so the material

sought about Movants from the period 2015 to 2017 has no bearing on the

hacking claims that Applicants (falsely) say they are asserting. This is a fish-

ing expedition, and this Court should not allow it. At a minimum, the Court

should protect Movants from the worst of the burdens by declining to compel

depositions.




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      Separately, the subpoenas should be quashed as a matter of law because

they were issued without authority and the Applicants improperly joined their

applications. As the Fourth Circuit has held, the Constitution, statutory law

and the Federal Rules of Civil Procedure require stand-alone proceedings like

the Section 1782 proceedings here to be adjudicated by an Article III judge.

Further, Applicants improperly joined unrelated applications together in vio-

lation of Rule 20. The subpoenas are invalid, and must be quashed.

                         QUESTIONS PRESENTED

       1.    The first foreign litigation here complains of judicial process viola-
tions in connection with one Applicant’s criminal trial in the U.A.E., and the
second one complains of attempts in 2020 to interfere with that Applicant’s
lawyers in connection with the first litigation. Movants are not accused of be-
ing involved in the alleged torts at issue in either case, and the Application
does not seek discovery related to those torts and instead seeks discovery into
Movants’ dealings with an Indian company that is not identified in and has no
asserted link to either litigation. Should the subpoenas be quashed in whole
or in part because Applicant has not shown that the discovery sought is “for
use” in the foreign proceedings or that it is relevant and proportionate to the
case’s needs?

       2.    Under the Constitution, federal law, and the Federal Rules, the
final disposition of a federal proceeding must be decided by an Article III judge.
The Fourth Circuit has thus held that only an Article III judge may, e.g., quash
an administrative subpoena. The order granting the Application was not is-
sued by an Article III judge. Must the subpoenas therefore be quashed?

       3.    The Federal Rules permit plaintiffs to join their claims only if they
arise from a common occurrence, but Applicants filed a joint application arising
from their separate lawsuits, which in turn assert different claims arising from
different facts against different defendants. Should their applications be sev-
ered and considered separately?


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                              BACKGROUND

      A.    The Foreign Proceedings

      Applicant Al Sadeq is a former investment officer for the Emirate of Ras

al Khaimah (“RAK”) who is presently incarcerated in RAK for committing

fraud and embezzlement while in public office. Dkt. 4 (“Tsiattalou Decl.”) Ex.

A ¶¶ 1, 35, 175. He is pursuing a claim in England (the “Al Sadeq Proceeding”)

against the Dechert law firm and three current or former partners. Tsiattalou

Decl. ¶ 8; see generally id. Ex. A. His allegations there complain about his

conditions of confinement and alleged judicial process violations during his

prosecution and conviction. Tsiattalou Decl. ¶¶ 4-5 & Ex. A ¶¶ 8-10. Movants,

a North Carolina investigative services firm and its principal, are not parties

to that lawsuit, are not mentioned in the operative pleading, and are not al-

leged to have been involved in his prosecution or conviction or in any of the

conduct at issue in Al Sadeq’s claims. See Neuman Decl. Ex. 1.

      Applicant Stokoe Partnership Solicitors is Al Sadeq’s English law firm.

Stokoe filed its own lawsuit in England in July 2020 (the “Stokoe Proceeding”)




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accusing various of RAK’s alleged agents of trying to interfere with its repre-

sentation of Al Sadeq.1 In its operative particulars of claim, Stokoe alleged

that its lawyers were physically surveilled on one occasion in Dubai and that

someone gained improper access to its bank records, all in 2020. Tsiattalou

Decl. ¶¶ 10-11, 34, 45; Dkt. 2 (“Mem.”) at 12; Neuman Decl. Ex. 2 ¶¶ 7, 9, 14(7).

Stokoe did not allege that it was hacked, and Movants were not alleged to have

hacked Stokoe.

      B.    The Application

      Applicants commenced these § 1782 proceedings seeking discovery from

Movants, putatively in connection with these two lawsuits. In support of their

Application, however, they submitted exhibits primarily concerned with two

unrelated litigations—one in England, one in this District—being pursued by

an unrelated third party named Farhad Azima.2 The proposed subpoenas



      1 Applicants did not provide this Court with the operative particulars of
claim (the equivalent of a U.S. complaint) in either underlying proceeding. See
Neuman Decl. Exs. 1 & 2.
      2 Azima is a former business partner of RAKIA’s who was sued by RAKIA
in England and was found liable for misappropriation of funds, bribery, and
other bad faith conduct, and ordered to pay $8.3 million to RAKIA. Tsiattalou
Decl. Ex. B ¶¶ 159, 181, 189, 249-50. He has counterclaimed against RAKIA,
asserting a theory that RAKIA was responsible for hacking into his email ac-
count in 2015 or 2016. Tsiattalou Decl. ¶ 22; Tsiattalou Decl. Ex. B ¶ 57. Mo-
vant Del Rosso, a U.S. resident, was a witness in the Azima trial, and Azima
has filed an action against Del Rosso in this District accusing him (wrongly) of
orchestrating the hack. The cases of these two different adjudged fraudsters
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(since served) demand deposition testimony and the following documents in

this suit:

             • “All documents evidencing payments made to CyberRoot, includ-
               ing . . . bank statements and invoices”;

             • “Copies of all invoices and account statements provided to [Del
               Rosso or VMS] by CyberRoot”;

             • “All documents, including communications, referring or relating to
               the payments made by [Del Rosso or VMS] to CyberRoot”;

             • “All documents sufficient to identify the source of funds used to
               make payments to CyberRoot”;

             • “All documents . . . which refer, relate to, evidence, or memorialize
               any meetings, discussions, or communications with CyberRoot”;
               and

             • “All documents, including communications, which evidence the
               work product produced by CyberRoot on [Del Rosso or VMS’s] be-
               half.”

Dkt. Nos. 3-1 & 3-2 (“Subpoenas”) at 7-8. The subpoenas specify a date range

of “July 1, 2015 through September 30, 2017,” id. at 7, despite the fact that the

alleged improper access to Stokoe’s confidential banking information took

place three years later, in 2020.3



have no connection with one another, and Azima’s suit is not connected to this
§ 1782 Application. The fraud scheme for which Al Sadeq was convicted was a
separate fraud scheme from the one for which Azima was found liable by an
English court.
      3 The subpoenas’ instructions state a period running “to the date of [the]
deposition,” but this is then shortened to September 30, 2017 by operation of
their eighth definition. Subpoenas at 5, 7.

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      Applicants filed supplemental materials on May 12, 2021. Dkt. 5 (“Supp.

Mem.”) at 8-14. Most of the material has no facial bearing on Movants, but one

defendant submitted an affidavit in which he “denied obtaining confidential

information from Stokoe and denied instructing [another defendant] to do so

on his behalf,” and suggested that in March or April 2020, Movant Del Rosso

had asked one of the defendants whether it was possible to know when Al

Sadeq’s lawyer entered and exited Dubai. Dkt. 6 (“Tsiattalou Supp. Decl.”) ¶¶

9-10; Tsiattalou Supp. Decl. Ex. C at 2-4.

      C.    The Order

      On October 18, 2021, this Court granted the Application on an ex parte

basis. Dkt. 7 (“Order”). The Court observed that Al Sadeq and Stokoe qualify

as “interested parties” and that Movants are “found” in this District. Id. at 35.

It allowed the discovery on the basis that it was “for use” in the foreign pro-

ceedings. Id. at 35-36.

      The Court understood, based on the Application’s characterization of the

foreign litigations, that Stokoe was pursuing a claim for “hacking,” and per-

ceived a similarity between Stokoe’s purported hacking claim and the hacking

claim that Farhad Azima has asserted. Id. at 37, 39. Specifically, the Court

reasoned that “the timing and method by which RAKIA obtained Azima’s con-

fidential emails, which allegedly implicated Al Sadeq in the asserted fraud,


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appear[ed] relevant to Al Sadeq’s contention that RAKIA’s claims stem from

political motives” and that “the methods employed in RAK’s . . . investiga-

tion . . . relate to both Al Sadeq’s claims . . . and to Stokoe’s Hacking Claims”

because Stuart Page (a defendant in the Stokoe Proceeding) “has suggested

that Del Rosso, Gerrard, and the Ruler bear responsibility for at least some of

the conduct at issue in the” Stokoe Proceeding. Id. at 39. The Court observed

that under Fourth Circuit precedent, its ex parte order was “without prejudice

to Del Rosso and Vital Management later contesting the requested discovery.”

Id. at 41 n.25 (internal quotation marks and brackets omitted).

      Movants were served on October 20, 2021, and now ask the Court to

quash the subpoenas.

                                   ARGUMENT

I.    The Requested Discovery Is Not “For Use” in or Relevant to the
      Foreign Proceedings and Is Unduly Burdensome.

      A.    Section 1782 Standard.

      Applicants should not be allowed to compel the discovery they seek here

because it is speculative and not relevant to either of the underlying foreign

litigations. It therefore does not satisfy either Section 1782’s “for use” require-

ment or Intel’s burden analysis.




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      A Section 1782 application may be granted only if the discovery sought

is “for use” in a qualifying foreign proceeding.4 To meet that requirement, an

Applicant must “explain or allow a district court to infer how the discovery

sought will increase the applicant’s chances of success in the foreign proceed-

ing.” In re Diligence Glob. Bus. Intelligence S.A., 2021 WL 2156278, at *2

(S.D.N.Y. May 27, 2021) (quotations and alterations omitted). An applicant’s

mere “belie[f]” that “the evidence sought . . . will support [its] claims” is not

sufficient. In Re Postalis, 2018 WL 6725406, at *4 (S.D.N.Y. Dec. 20, 2018).

This “guard[s] against” using Section 1782 to conduct a “fishing expedition.”

In re Certain Funds, Accounts, and/or Inv. Vehicles Managed by Affiliates of

Fortress Inv. Grp. LLC, 2014 WL 3404955, at *6 (S.D.N.Y. July 9, 2014).

      Further, where Section 1782’s statutory minima are met, a court must

decide whether to allow the requested discovery as a matter of discretion. That

inquiry is governed by Intel Corporation v. Advanced Micro Devices, Inc., 542

U.S. 241, 264-65 (2004), and includes asking whether “the documents or testi-

mony sought are ‘unduly intrusive or burdensome.’” See In Re Green Dev. Corp.

S.A. de C.V., 2015 WL 10319091, at *3 (D. Md. Oct. 1, 2015) (citing Intel, 542



      4The minimal requirements are that the applicant must be an “inter-
ested person;” the discovery must be “for use” in a foreign proceeding; and the
discovery target must be “found” in the district where the application is filed.
28 U.S.C. § 1782.

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U.S. at 265).5 Overbreadth and burden are determined by applying the famil-

iar standards of Rule 26, see id. at *5, which permits only discovery that is

“proportional to the needs of the case,” Fed. R. Civ. P. 26(b)(1). The discovery

must be important enough to the claims or defenses at issue in the underlying

foreign proceeding that the burden and expense of discovery are justified. A

request that is “only marginally relevant” should be denied. In Re Diligence

Glob. Bus. Intelligence S.A., 2021 WL 2156278, at *2 (citation omitted).

      Here, Applicants seek communications from 2015 to 2017 between Mo-

vants and third-party CyberRoot. CyberRoot, however, has no connection to

the foreign litigations, and is not alleged to have been involved in any miscon-

duct against Applicants; Movants’ names have been raised tangentially and in

a self-serving way in those litigations but there is zero evidence, and no alle-

gation, that they were involved in the torts at issue; and the Movants’ relation-

ship with CyberRoot in India in the period from 2015 to 2017 has anyway noth-

ing to do with Al Sadeq’s (heavily disputed) allegations of official misconduct

in connection with his detention and trial in the U.A.E., nor anything to do




      5 Intel also requires consideration of, inter alia, whether the foreign court
is receptive to federal-court assistance and whether the applicant is trying to
circumvent policies of the foreign court. See Intel, 542 U.S. at 264-65.

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with his lawyers’ claims that in 2020 they were subjected to physical surveil-

lance during a client visit to the U.A.E. and that someone improperly accessed

their banking information.

      B.    The Requested Discovery Is Not “For Use” Abroad
            Because the Foreign Claims Do Not Involve Hacking.

      Applicants do not claim otherwise. Instead, they explain that the re-

quested discovery is relevant because Movants and CyberRoot are alleged to

have hacked an unrelated third party named Farhad Azima in 2015 or 2016,

and so Movants’ documents and testimony “would aid the Applicants in deter-

mining the identity of those behind the hacking campaign targeting Mr. Al

Sadeq’s Legal and Support Team” in 2020. Mem. 18. That theory is flawed for

several reasons.

      First, the underlying foreign litigations are not about hacking. In the Al

Sadeq Proceeding, Al Sadeq complains that he was mistreated in connection

with his criminal arrest, detention, and prosecution. Tsiattalou Decl. ¶ 5; Or-

der at 8-9 (quoting Tsiattalou Decl. ¶ 5). He does not allege that he was hacked

in connection with those events (or otherwise). See Tsiattalou Decl. ¶ 5. The

only theory on which Al Sadeq seeks discovery from Movants is the (unfounded

and heavily disputed) allegation that Movants had something to do with gain-

ing unauthorized access to the email account of unrelated third-party Farhad

Azima in an effort to uncover proof that he (Azima) had committed fraud. Dkt.

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1 at 2-4. But discovery related to that alleged incident (which is subject to

separate proceedings in England), completely separate in time, space, and sub-

ject matter, and brought by a different litigant (Azima), has no bearing on the

truth or falsity of Al Sadeq’s claim of official misconduct in his criminal pro-

ceedings. Al Sadeq does not claim anyone looked at his emails.

      The Stokoe Proceeding is also not about hacking. In that case, Al Sadeq’s

lawyers allege that they were subjected to physical surveillance when they vis-

ited Al Sadeq in the U.A.E., and that someone obtained unauthorized access to

the firm’s banking information. See Neuman Decl. Ex. 2 ¶¶ 7, 9, 12, 14(7). The

attorney declaration supporting the Application characterizes this latter inci-

dent as “hacking,” Tsiattalou Decl. ¶ 13, but then clarifies that in fact it did

not involve hacking: instead, Stokoe voluntarily provided third parties with

access to its own bank account documents “in a format which allowed covert

tracking, to identify the recipients of th[e] documents,” id. ¶¶ 33-35; see also

Tsiattalou Decl. Ex. H at 14. The concern, that is, was that someone with au-

thorized access to the information was improperly sharing it with others. In-

deed, the allegation in the Stokoe Proceeding is that the confidential material

was accessed in the UK, by one of the defendants in those proceedings. Neu-

man Decl. Ex. 2 ¶ 12.




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      In granting the petition on an ex parte basis, the Court accepted Appli-

cants’ characterizations of their claims as being based on hacking. Dkt. 1 at 3-

5; Mem. at 3, 8, 10-12, 16-18, 20, 25; Dkt. 3 ¶ 4; Tsiattalou Decl. ¶¶ 1, 3, 13-14,

16, 44-45, 48; Supp. Mem. at 2-5, 11, 13; see Order at 20-21 (citing Tsiattalou

Decl. ¶¶ 13–16), 39. But Applicants’ references in this Court to a “hacking

campaign,” Tsiattalou Decl. ¶¶ 3, 48; “instructions … [to] hack[] Stokoe’s bank

accounts, including its client account,” id. ¶ 13; to an “attempted hacking,” id.

¶ 16; and to “hacking attempts” on Al Sadeq’s legal and support team, id. ¶ 44,

appear nowhere in Stokoe’s English pleading. See Neuman Decl. Ex. 2. Their

description of a “cyber attack” on the IT systems of Stokoe and “ten other law

firms” on November 5, 2020, Tsiattalou Decl. ¶ 45, on which the Court relied,

Order at 28, 39, does not appear at all in Stokoe’s statement of the particulars

of its claim. The repetitive insistence that hacking is involved in the English

litigation is a mischaracterization intended to spin the facts in the English lit-

igation into a basis for granting discovery here. The Court relied on these mis-

characterizations and exaggerations in granting the Application, but because

the underlying litigations do not in fact materially involve hacking, the discov-

ery requested is not warranted.6



      6The Court granted the Application in part in light of the fact that no
other party had appeared to contest it, Order at 34-35, but that should not have
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      The one allegation related to hacking that genuinely is raised in the for-

eign litigation is Stokoe’s speculation that when it received a certain series of

suspicious emails, that was an attempted phishing campaign, and its further

speculation that those phishing attempts were prompted by Stokoe’s represen-

tation of Al Sadeq. Neuman Decl. Ex. 2 ¶ 11A. But leaving their speculative

nature aside, those emails are not tied to any claim of tort. The purported

phishing campaign is not alleged to have been successful in breaching Stokoe’s

systems or to have caused any harm. Id. In any event there is no basis for

connecting those emails in 2020 to Movants; and no reason is offered to suspect

that the discovery sought here into Movants’ dealings with an unrelated third

party between 2015 and 2017 would have any bearing on those 2020 emails.

      This is precisely the reason that the Northern District of California

Court denied an application like this one that was brought by these same Ap-

plicants related to the same foreign proceedings. There, as here, Al Sadeq and

Stokoe cited allegations of hacking in the same foreign litigations and sought

discovery from a number of technology service providers, claiming that they




affected the disposition. Courts at times require a § 1782 applicant to invite
responses from potentially affected parties, see, e.g., In re Al Sadeq, 2021 WL
2828810, at *1 (N.D. Cal. Mar. 30, 2021), but absent such an invitation, courts
regularly resolve such applications on an ex parte basis subject to de novo con-
sideration once a subpoena is served.

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sought to learn the identity of the supposed attackers. The Court denied the

ex parte application because the requested discovery into the identity of indi-

viduals that supposedly sent phishing emails had nothing to do with either

foreign proceeding. See In re Al Sadeq, 2021 WL 2828810, at *3. It concluded

that while the applicants had “describe[d] in detail the ways in which they

believe they are being surveilled and hacking attempts against them,” ulti-

mately they did “not establish a link between the fact that someone might be

watching or attempting to hack them and the particular claims at issue in the

foreign proceedings.” Id. The same is true here.

      In fact, the disconnect here is greater because Applicants request discov-

ery into events from 2015 to 2017, when the facts at issue in the Stokoe Pro-

ceeding—including the allegations of phishing attempts—are all from 2020.

Indeed, the Application demonstrates that the 2015 to 2017 period sought here

is not relevant: Stokoe was “first retained” for the Al Sadeq Proceeding in Oc-

tober 2019 and the claim form in the Al Sadeq Proceeding was issued on Jan-

uary 28, 2020. Tsiattalou Decl. ¶¶ 7-8. There can be no justification for Stokoe

seeking discovery for a date range that pre-dates its engagement by Al Sadeq.

      Similar disconnects between the time period at issue in a litigation, and

the time period sought through Section 1782 discovery, have led other courts

to deny Section 1782 applications. See, e.g., In re Qualcomm Inc., 162 F. Supp.


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3d 1029, 1044 (N.D. Cal. 2016) (denying application because requests were “not

narrowly tailored temporally, geographically or in their subject matter”). The

same result should follow here.

      C.    Azima’s Claims and Page’s Comments Do Not Support
            Granting Discovery.

      Second, the Court’s conclusion that Azima’s claims are related to Al

Sadeq’s and Stokoe’s claims is not supported by the evidence filed in support

of the Application. The Court reasoned that “the timing and method by which

RAKIA obtained Azima’s confidential emails, which allegedly implicated Al

Sadeq in the asserted fraud, appear[ed] relevant to Al Sadeq’s contention that

RAKIA’s claims stem from political motives.” Order at 39. But neither the

Application nor the documents submitted in support assert that Azima’s pur-

portedly confidential emails allegedly implicated Al Sadeq in the frauds at is-

sue in the Al Sadeq Proceeding. See, e.g., Tsiattalou Decl. ¶ 24. Azima’s fraud

and Azima’s emails are irrelevant to Al Sadeq’s frauds and imprisonment. In-

deed, Applicants do not assert that Azima’s emails were used in the prosecu-

tion of Al Sadeq.

      Applicants’ reliance on the English appellate court’s description of evi-

dence submitted in unconnected proceedings in Azima’s appeal was improper,

and that material does not and cannot support granting the discovery that Ap-

plicants seek. Contra Order at 17-19. The appellate court’s description of that

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declaration is not evidence with respect to Movants. Movants are not parties

to that litigation, and the appellate court’s (threshold) decision has zero res

judicata or collateral estoppel effect as to them. The declaration itself is not

before the Court, because Applicants did not submit it. If that declaration had

been submitted in connection with a U.S. proceeding (let alone in a U.S. ap-

peal), it would have been rejected because it is the self-serving hearsay state-

ment of a paid investigator for Azima reporting the double-hearsay account of

an anonymous source accusing Movants of wrongdoing.

      Movant Del Rosso stands by his sworn statement that he had no involve-

ment in the alleged hacking, but that question is not for Applicants to raise or

for this Court to explore or decide. Azima has sued Movants in a separate

action pending in this district, where these facts are in dispute. Indeed, Azima

has twice attempted to initiate discovery in that action seeking these exact

same records (which are not relevant to Applicants’ suits), but Judge Webster

has twice rejected his requests for that discovery as premature while Movants’

motion to dismiss is pending, and his third motion seeking again to get these

same records is pending disposition. See Azima v. Del Rosso, et al., 1:20-cv-

00954-UA-JLW (M.D.N.C.), Dkt. 30 (order denying Azima’s motion seeking

leave to commence discovery); Dkt. 54 (order denying Azima’s motion for leave




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to file supplemental materials); Dkt. 61 (Azima’s motion for leave to file sup-

plemental information and to commence discovery). Whether Azima is entitled

to these materials remains to be decided, but he at least alleges that he was

affected by Movants’ work with CyberRoot from 2015 to 2017. Applicants make

no such allegation, have no standing to complain about or explore Movants’

work with CyberRoot during that period, and should not be allowed discovery

into that work.

      Applicants are also wrong to contend that Stuart Page’s purported com-

ments threatening to “implicate” Del Rosso support the requested discovery.

Page is reported in attorney correspondence to have self-servingly “suggested

that Del Rosso, Gerrard, and the Ruler bear responsibility for at least some of

the conduct at issue in the” Stokoe Proceeding. Order at 39. But that is not

genuine evidence of Movants’ involvement in the Stokoe facts. The multiple-

hearsay, fact-free account reflected in the attorney letter that Applicants sub-

mit is on its face a conclusory threat by Page to falsely “implicate” others, not

testimony or evidence that Movants were indeed involved. Tsiattalou Supp.

Decl. Ex. F at 1.

      And even if that passage referring to purported comments by Page did

credibly suggest that Movants had some involvement in the 2020 conduct that




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Stokoe complains of, it still would not support the 2015-to-2017 discovery Ap-

plicants seek here, because Applicants do not seek discovery related to that

2020 conduct. They seek historical information from years ago involving Mo-

vants’ dealings with CyberRoot. Neither Stuart Page’s putative comments, nor

any other evidence in any other proceeding, links CyberRoot to any 2020 con-

duct having to do with Stokoe. So Stuart Page’s reported threats do nothing

to suggest that the discovery actually sought here could potentially be relevant

to the conduct of which Stokoe complains. Without a link between Page’s re-

ported comment and the discovery that is sought, that comment does not sup-

port the Application. See In Re Diligence Glob. Bus. Intelligence S.A., 2021 WL

2156278, at *2 (attenuated link to discovery is not sufficient). The discovery

should not be granted on the basis of Page’s purported comment.

      D.    Applicants’ Claims of a Nefarious Nexus Between Movants
            and Their Defendants Are Too Vague.

      Third, Applicants’ remaining relevance theories also fail. Applicants ar-

gue that Movants’ and CyberRoot’s “prior dealings with defendants” in foreign

litigation is sufficient to justify discovery. Supp. Mem. at 9. But that vague

claim does nothing to show an entitlement to the particular material requested

here. A similar argument was rejected in In Re Green Development Corpora-

tion S.A. de C.V., where a court in this Circuit denied Section 1782 discovery

premised on allegations of a “nefarious nexus” between the discovery target

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and the defendants in the foreign litigation. 2015 WL 10319091, at *5. The

court held that those allegations alone were not sufficient to find “any rele-

vance” to the foreign litigation. There, similar to here, the court also noted the

“irrelevan[ce]” of the requested discovery to the issues in dispute in the foreign

litigation, as evidenced by the fact that applicants sought discovery about

events “four to five years prior to the allegedly wrongful” conduct. Id.

        As in Green, that Movants and some of Applicants’ defendants have a

relationship does not entitle Applicants to discovery from them on topics unre-

lated to—and “four to five years prior to”—the tort claims that Applicants are

pursuing. See id. The case is even stronger here because, unlike in Green, the

discovery requested is about Movants’ dealings with yet another unrelated

third party, and not even about Movants’ relationship with Applicants’ defend-

ants.

        Applicants also try to tie Del Rosso to their case by hypothesizing that

he was involved in surveilling Stokoe lawyers in Dubai in 2020. They point to

a third party’s hearsay statement that Del Rosso asked if it would be possible

to find out whether Al Sadeq’s lawyer had flown in or out of Dubai. Supp. Mem.

at 4; Tsiattalou Supp. Decl. Ex. C at 4.7 But Applicants do not seek discovery




       Applicants self-servingly omit the remainder of Grayson’s statement,
        7

which states that “del Rosso did not mention either [Stokoe] or Mr Tsiattalou”
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about this incident: they seek no documents from 2020, and none about this

statement or the alleged surveillance. Nor is there any suggestion anywhere

that CyberRoot was connected to that alleged surveillance. So there is no tie

made between the actual allegations of Del Rosso’s involvement in Stokoe’s

claim of tort on the one hand, and the evidence that Stokoe seeks from Del

Rosso on the other.

       In sum, the Application does not show that the historical information

sought is relevant to the foreign proceedings, and the Court should not follow

Applicants’ “leaps of logic” in hypothesizing some such relevance. Att’y Gen. of

Brit. Virgin Islands v. Hyman, 2021 WL 706504, at *4 (D.D.C. Feb. 23, 2021)

(discussing undue burden). The subpoenas should be quashed.

II.    The Subpoenas Should Be Narrowed.

       A.    The Depositions Should Be Quashed.

       For those reasons, the subpoenas should be quashed in their entirety;

and at a minimum, they should be limited.

       No deposition testimony should be allowed. For the reasons above, Ap-

plicants have not established a basis for discovery, so any burden should be




when he allegedly inquired about how Al Sadeq might be funding his litigation
and that Del Rosso “did not pursue” further any inquiry regarding Tsiattalou’s
travel movements. Tsiattalou Supp. Decl. Ex. C at 4.

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minimized. Under Rule 26, courts give a subpoena “recipient’s nonparty status

‘special weight,’ leading to an even more ‘demanding and sensitive’ inquiry

than the one governing discovery generally.” Va. Dep’t of Corr. v. Jordan, 921

F.3d 180, 189, 194 (4th Cir. 2019) (citation omitted) (affirming denial of depo-

sition absent showing of what “additional useful information” would be

gained). Deposition testimony is “costly and time-consuming,” and should be

denied because it is “not proportional to the needs of the case.” Bright-Asante

v. Saks & Co., Inc., 2019 WL 1109741, at *3 (S.D.N.Y. Mar. 11, 2019) (denying

“costly and time-consuming deposition testimony . . . not proportional to the

needs of the case”); In re WildBrain Family Int’l Ltd., 2020 WL 6135765, at *3

(S.D.N.Y. Oct. 19, 2020) (quashing deposition subpoena).

      That is particularly appropriate here because pre-trial deposition testi-

mony is not customary in English proceedings.        See WildBrain, 2020 WL

6135765, at *2. The court in Wildbrain rejected a Section 1782 deposition re-

quest because “[t]he ‘nature’ and ‘character’ of the UK proceedings are not such

that they include live pretrial testimony, but only witness statements.” Id.




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“[O]rdering live testimony would be in tension with the proof-gathering proce-

dures that govern the UK tribunal overseeing [the] dispute.” Id. The identical

logic applies here.8

      B.    The Document Requests’ Period and Scope Should Be
            Limited.

      Any document discovery granted should also be limited both in time pe-

riod and scope to narrow Applicants’ overbroad and burdensome requests.

      First, this Court should at minimum modify and restrict the responsive

time period for all discovery, including any oral testimony, to January through

April 2020—the period after Al Sadeq publicized his claim and in which Stokoe

alleges it witnessed phishing attempts. Applicants’ request for material from

2015 to 2017 does not target relevant material.

      Second, the Court should limit the subpoenas to VMS’s work with Cy-

berRoot—if any—relating to Stokoe or Al Sadeq. Applicants request “all doc-

uments” and communications between Movants and CyberRoot, “including,

but not limited to,” documents that “refer, relate to, evidence, or memorialize

any meetings, discussions, or communications with CyberRoot,” see Subpoenas



      8 The Court concluded that the Azima court’s receptivity to further trial
(not deposition) testimony from Movants supported granting discovery, Order
at 40-41, but that should have no bearing because what is requested is deposi-
tion testimony, and the relevant proceedings are Applicants’ foreign litiga-
tions, not Azima’s.

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at 7-8 (emphases added), regardless of their relevance to either Applicant’s

claims. Applicants’ requests are overbroad and untethered to the issues in the

foreign litigation, and the Court should limit them. See, e.g., In re Blue Oil

Trading Ltd., 2009 WL 3247854, at *2 (W.D.N.C. Oct. 5, 2009) (modifying sub-

poena where “[s]everal of the document requests and deposition topics are un-

limited in time” and “seek information that is general in nature and not focused

specifically on the UK Litigation”).

III.    The Application Required Decision by an Article III Judge.

        This Court should quash the subpoenas because the Constitution, statu-

tory law, and the Federal Rules require a Section 1782 petition to be decided

by an Article III judge. Article III of the Constitution vests “[t]he judicial

Power of the United States” in the Supreme Court and such other courts as

Congress creates. “Congress has . . . authorized the appointment of . . . magis-

trate judges,” and as the Supreme Court recently recognized, “without the[ir]

distinguished service,” the “work of the federal court system would grind

nearly to a halt.” Wellness Int’l Network, Ltd. v. Sharif, 575 U.S. 665, 668-69

(2015). But because magistrate judges “do not enjoy the protections of Article

III,” the Constitution does not allow a magistrate judge to decide “claims for

which litigants are constitutionally entitled to an Article III adjudication.” Id.




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      In consequence, 28 U.S.C. § 636(b)(1)(A) authorizes magistrate judges to

decide only “pretrial matters,” and Rule 72(a) similarly provides that a magis-

trate judge may decide only “a pretrial matter not dispositive of a party’s claim

or defense.” F.R.C.P. 72(a). A Section 1782 application is a standalone pro-

ceeding that results in an order granting or denying ultimate relief, so a deci-

sion on whether to grant or deny a Section 1782 application is “dispositive”

within the meaning of Rule 72. See, e.g., Wright & Miller, 12 Fed. Prac. & Proc.

Civ. § 3068.2 (3d ed.) (so observing).

      The Fourth Circuit held in the analogous context of an enforcement pro-

ceeding for an administrative search warrant that the Constitution requires

the decision to be made by a district court judge. See Aluminum Co. of Am.,

Badin Works, Badin, N.C. v. EPA, 663 F.2d 499, 502 (4th Cir. 1981) (“AL-

COA”).9 In ALCOA, a magistrate judge declined to quash an EPA search war-

rant, and the district court affirmed on clear-error review. The Fourth Circuit

vacated and remanded, holding that the motion to quash was dispositive. The



      9 In In re Naranjo (discussed at Order at 1 n.2) the appellant did not
raise an objection to the magistrate judge’s authority to issue an order, see Br.
of Appellant, In re Naranjo, 768 F.3d 332 (4th Cir. 2014) (No. 13-2028, Dkt.
No. 19), 2013 WL 2065272, at *11, so that case does not speak to the issue.
“Questions which merely lurk in the record, neither brought to the attention of
the court nor ruled upon, are not to be considered as having been so decided as
to constitute precedents.” Webster v. Fall, 266 U.S. 507, 511 (1925); see Mays
v. Sprinkle, 992 F.3d 295, 302 n.4 (4th Cir. 2021) (quoting Webster).

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motion “was not a ‘pretrial matter,’” but instead “set forth all of the relief re-

quested,” and therefore the movant was entitled to de novo consideration by

the district court judge. Id. at 501. A Section 1782 decision similarly adjudi-

cates with finality the relief requested. The subpoenas here were based on an

order that the Court lacked power to issue, are invalid and should be quashed.

IV.    Applicants Improperly Joined Their Unrelated Applications.

       Finally, the subpoenas should be quashed because the Application im-

properly joined parties. Rule 20 allows persons to be joined “in one action as

plaintiffs” if they “assert any right to relief jointly, severally, or in the alterna-

tive with respect to or arising out of the same transaction, occurrence, or series

of transactions or occurrences.” Here, Al Sadeq’s claimed right to relief arises

from his litigation, and Stokoe’s from its; those are not the same transaction or

occurrence. Nor are the underlying facts of each case the same. Rule 20 does

not allow Applicants to proceed jointly. See Saval v. BL Ltd., 710 F.2d 1027,

1031 (4th Cir. 1983) (per curiam) (affirming denial of joinder where “allegedly

similar problems” with two vehicles “did not satisfy the transaction or occur-

rence test”); Saunders v. Clarke, 2015 WL 1916929, at *5 (E.D. Va. Apr. 27,

2015) (denying joinder of claims on same topic but involving different underly-

ing litigation).




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      The false joinder matters especially because Applicants cannot establish

that the requested discovery is “for use” in each litigation taken individually.

Instead they weave together pieces from these distinct litigations (and

Azima’s): Al Sadeq has allegations against RAK, but not involving hacking.

Stokoe does not allege wrongdoing by RAK, but portrays its claims as involving

hacking. Only by linking the two can Applicants portray their combined cases

as looking something like Azima’s case and then articulate why they should be

granted discovery that on its face is relevant only to that case. But the sum is

not greater than the parts. The subpoenas should not have been authorized in

a joint proceeding; they should be quashed, the proceedings severed under Rule

21, and new separate applications considered afresh.

                               CONCLUSION

      For these reasons, Movants respectfully request that the Court quash

the subpoenas.




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 Respectfully submitted this 30th day of November, 2021.

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                     WORD COUNT CERTIFICATION

       Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ.
P. 11, that the accompanying brief contains 6,212 words, according to the word
count feature of the word processing system used to prepare the brief. Accord-
ingly, the brief does not exceed the 6,250 word limitation.

Respectfully submitted this 30th day of November, 2021.

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                       CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of November 2021, I electronically
filed the foregoing Nicholas Del Rosso and Vital Management Services,
Inc.’s Motion to Quash or For a Protective Order with the Clerk of the
Court using the CM/ECF system, which will send electronic notification of
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